Case 6:17-cv-00127-KNM          Document 3        Filed 02/28/17         Page 1 of 13 PageID #: 68

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                           16-2359-B
                     NO. _ _ _ _ _ _ _ _ _ __
  CORINNE FORD                    § IN THE DISTRICT COURT
  Plahltiff'                      §
                                  §
  v.                              §              JUDICIAL DISTRICT
                                  §
                                  §
  STEVEN KVAMAND TRY-US           §
  TRANSPORTATION, INC.            §
  Defendants.                     § OF SMITH COUNTY, TEXAS
                             PLAINTIFF'S ORIGINAL PETITION
  TO THE HONORABLE JUDGE OF SAID COURT:

         NOW COMES Corinne Ford, hereinafter called Plaintiff, complaining of and about

  Steven Kvam and TRY-US TRANSPORTATION, INC., hereinafter called Defendants, and for

  cause of action shpws unto the Couli the following:

                            DISCOVERY CONTROL PLAN LEVEL

         1.     Plaintiff intends that discovery be conducted under Discovery Level 3.

                                    PARTIES AND SERVICE

         2.      Plaintiff, Corinne Ford, is an Individual whose address is c/o Lee, Gober &

  Reyna, 11940 Jollyville Road, Suite 220-S, Austin, Texas 78759.

         3.      The last three numbers of Corinne Ford's driver's license number are 689. The

  last three numbers of Corinne Ford's social security number are 483.

         4.      Defendant Steven Kvam, an Individual who is a nonresident of Texas, may be

  served with process at his post office box at the following address:              PO BOX 279,

  CHILOQUIN, OREGON 97624-0279 (or wherever he may be found).                       Service of said

  Defendant as described above can be effe.cted by certified mail, retum receipt requested or any

  method allowed by the Texas Rules of Civil Procedure.

  Original P etition- Ford v. Kvam & TRY-US TRANS., INC.
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Case 6:17-cv-00127-KNM              Document 3      Filed 02/28/17       Page 2 of 13 PageID #: 69




         5.      Defendant TRY-US TRANSPORTATION, INC., a Nonresident Corporation,

  may be served pursuant to sections 5.201 and 5.255 of the Texas Business Organizations Code

  by serving the registered agent. of the corporation, SUKHJINDER SANGHERA, at 3818

  MOFFETT RD, CERES; CALIFORNIA 95307; its .registered office.                        Service of said

  Defendant as described above can be effected by certified mail, return receipt requested, or any

  method allowed by the Texas Rules of Civil Proc.edure .

                                    •JURISDICTION AND VENUE

         6.      The subject matter in controversy is within the jurisdictional limits of this court

         7.      Plaintiff seeks:

                 a.      monetary relief over $1,000,000.

         8.      This court has jurisdi,ction over Defendant Steven Kvam, because said Defendant

  purposefully availed himself of the privilege of conducting activities in the state of Texas and

  established minimum contacts sufficient to confer jurisdiction over said Defendant, and the

  assumption of jurisdiction over Steven Kvam will not offend traditional notions of fair play and

  substantial justice and is consistent with the constitutional requirements of due process.

         9.      Plaintiff would show that Defendant Steven Kvam had continuous and systematic

  contacts with the state of'Iexas sufficient to establish general jurisdiction over said Defendant.

         10.     Plaintiff would also show that the cause of action arose from or relates to the

  contacts of Defendant Steven Kvam to the state of Texas, thereby conferring specific jurisdiction

  with respect to said Defendant.

         11.     I•urthermore, Plaintiff would show that Defendant Steven Kvam engaged in

  activities constituting business in the state of Texas as provided by Section 17.042 of the Texas



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Case 6:17-cv-00127-KNM             Document 3       Filed 02/28/17          Page 3 of 13 PageID #: 70




  tivil Practice and Remedies Code, in that said Defendant committed a tort in whole or in part in

  !texas.

            12.   Defendant willfully entered Texas and operated a tractor trailer in the course and

  -teope ofDefendant!s business.

            13.   This court has jw·isdiction over Defendant TRY-US· TRANSPORTATION, INC.,

  !&ecause said Defendant purposefully availed itself of the privilege of conducting activities in the

  !tate of Texas and established minimum contacts sufficient to confer jurisdiction over said

  Defendant, and the assumption ofjurisdiction over TRY-US TRANSPORTATION,. INC. wi11

  not offend traditional notions or fair play and substantial justice and is· consistent with the

  w nstitutional rcquirem<,mts of due process.

            14.   Plaintiff would show that Defendant TRY -US TRANSPORTATION, INC. had

  eontimtous and systematic contacts with the state of Texas sufficient to establish general

  Iurisdiction over said Defendant.

            15.   Plaintiff wo1,1ld also show that the cause of action arose from or relates to the

  eontacts of Defendant TRY-US TRANSPORTATION, INC. to the state of Texas, thereby

  conferring specific jurisdiction with respect to said Defendant.

            16.   Furthermore,     Plaintiff     would       show    that     Defendant      TRY-US

  TRANSPORTATION, INC. engaged in activities constituting business in the state of Texas as

  !l}tovided by Section 17.042 of the Texas Civil Practice and Remedies Code, in that said

  !Defendant committed a tort in whole or in part in Texas.

            17.   Defendant willfully directed Steven Kvarrt to enter Texas and operate a tractor

  t ailer in the course and scope of Defendant's business.



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Case 6:17-cv-00127-KNM           Document 3         Filed 02/28/17      Page 4 of 13 PageID #: 71




          18. ·   Venue in Smith Cm.mty is proper in this cause under Section 15.002(a)(l) of the

  Texas CiviL Practice and Remedies Code because all or a substantial prut of the events or

  omissions giving rise to. this lawsuit occurred in this cm.mty.

                                                FACTS

          19.     This suit is related to a collision that occurred on November 26, 2014 around

   10;20 a.m. in Chandler, Texas in Smith County. At the time of the collision; Plaintiff Corinne

  Ford was a restrained driver in her Volkswagen Beetle traveling eastbound on SH 31. Prior to the

  collision, Mrs. Ford was lawfully stopped at red traffic-control light waiting for the light to turn

  green to proceed, when without warning, Defendant Steven Kvam, driving an 18 wheeler truck

  and trailer owned by Defendant, Try-US Transportation, Inc., was traveling at a high rate of

  sp13ed and without warning and failing to apply his brakes, crashed into the rear of Mrs. Ford's

  vehicle. The force of the impact was so great that it pushed Mrs. Ford's vehicle into the vehicle

  in front of her. The collision caused immediate bodily injury to Mrs. Ford and substantial

  property damage to her vehicle.

         20.      The direct and proximate cause of the collision was Defendants' negligence, gross

  negligence and recklessness when Defendant breached his duty to safely bring his vehicle to a

  stop, failed. to observe the red light, operated the vehicle as a distracted driver and breached his

  duty to maintain a safe distance between his vehicle and Mrs. Ford's vehicle. As a result of the

  collision, Mrs. Ford sustained significant injuries to her neck, anterior chest, low back and

  shoulder. At all relevant times Defendant Steven Kvam was acting under the course and scope

  of business of Defendant Try-Us Ttansportation, Inc ..




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                                     PLAINTIFF'S CLAIM OF

                           NEGLIGENCE AGAINST STEVEN KVAM

         21.     Defendant Steven Kvam had a duty to exercise the degree of care that a

  reasonably careful person would use to avoid harm to others under circumstances similar to those

  described herein .

         22.     Plaintiffs. injt.u·ies were proximately caused by Defendant Steven Kvam's

  negligent, grossly negligent, careless and reckless disregard of said duty:

         23.     The negligent, grossly negligent, careless and reckless disregard of duty of

  Defendant Steven K vam consisted of, but is not limited to, the following acts and omissions:

                 A.      In that Defendm1t Steven Kvam failed to keep a proper lookout for
                         Plaintiffs safety that would have been maintained by a person of ordinary
                         prudence under the same or similar circumstances;

                 B.      In that Defendant Steven Kvam failed to turn his motor vehicle to the left
                         or right in an effort to avoid the collision complained of;

                 C.      In that Defendant Steven K vam failed to maintain a clear and reasonable
                         distance between Plaintiffs motor vehicle and Defendant Steven Kvam's
                         motor vehicle. which would pe1mit Defendant Steven Kvam to bring his
                         motOT vehicle to a safe stop without colliding· into Plaintiffs motor
                         vehicle;

                 D.      In that Defendant Steven Kvam. failed to keep such distance away from
                         Plaintiff's motor vehicle as a person using ordinary prudent care would
                         have done;

                 E.      In that Defendant Steven Kvam was operating his motor vehicle at a rate
                         of speed which was greater than that would have been operated by a
                         person of ordinary prudence under the same or similar circumstances;

                 F.      hi that Defendant Steven Kvam failed to apply his brakes to his motor
                         vehicle in a timely and pmdent manner and/or wholly failed to apply his
                         brakes;

                 G.      In that Defendant Steven K vam falled to stop at an OfficiahTraffic


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Case 6:17-cv-00127-KNM                   Document 3      Filed 02/28/17     Page 6 of 13 PageID #: 73




                            Control Device, to wit: a stop light, in violation of Section 544.007 of the
                            Texas Transportation Code;

                   H.       In that Defendant Steven Kvam failed to stop, yi~ld, and grant immediate
                            use of the intersection to Plaintiffs motor vehicle after it had entered the
                            intersection to confom1 to the Official Traffic-Control Device - i.e. a stop
                            light erected by public authority;

                   I.       In that Defendant Steven K vam failed to enter into the intersection only
                            when he could have safely entered without intctferenoe or collision with
                            other traffic, and specifically, with Plaintiffs motor vehicle; and

                   J.       In that Defendant Steven Kvam looked away from the road and vehicles
                            ahead of him, allowing himselfto be a distracted driver..

                   K.       In that Defendant Steven Kvam failed to observe Federal Motor Carrier
                            Safety Administration rules, regulations and guides which are intended to
                            ensure the safety of persons such as Plaintiff.

                                 PLAINTIFF'S CLAIM OF
                         NEGLIGENCE .P ER SE AGAINST STEVEN KVAM

           24.     Defendant Steven Kvam's conduct described herein constitutes an unexcused

 breach of duty imposed hy Section 544.007 of the Texas Transportation Code.

           25.     The statute imposes the duty on operators of motor vehicles facing a. steady red

 traffic signal to stop and not attempt to enter the intersection until an indication to proceed is

 displayed. Steven Kvam violated this duty when he failed to stop for a red light; causing his

 vehicle to crash into the rear ofPlaintit1,s vehicle.

           26.     Plaintiff is member of the class that Section 544.007 of the Texas Transportation

  Code was designed to protect

           27.     Defendant Steven Kvam's unexcused breach of the duty imposed- by Section

 544.007 of the Texas Transportation Code proximately caus·ed the Plaintiffs injuries described

 herein.



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                                     PLAINTIFF'S CLAIM OF
                NEGLIGENCE AGAINST TRY-US TRANSPORTATION, INC.

         28.     Defendant TRY-US TRANSPORTATION, INC. had a duty to exercise the

  degree of care that a reasonably careful person would use to avoid harm to others under

  circumstances similar to those described herein.

         29.     Plaintiffs   injuries   were   proximately   caused   by   Defendant     TRY-US

  TRANSPORTATION, INC.'s negligent, grossly negligent, cateless and reckless disregard of

  said duty.

         30.     The negligent, grossly negligent, careless and reckless disregard of duty of

  Defendant TRY-US TRANSPORTATION, INC. consisted at: but is not limited to, the following

  acts and omissions:

                 A.     In that Defendant TRY -US TRANSPORTATION, INC. failed to keep a
                        proper lookout for Plaintiffs safety that would have been maintained by a
                        person of ordinary prudence under the same or similar circumstances;

                 B.     In that Defendant TRY-US TRANSPORTATION, INC. failed to turn its
                        motor vehicle to the left or right in an efiort to avoid the collision
                        complained of;

                 C.     In that Defendant TRY-US TRANSPORTATION, INC. failed to maintain
                        a. clear and teasonable distance between Plaintiffs motor vehicle and
                        Defendant TRY-US TRANSPORTATION, INC.'s motor vehicle which
                        would permit Defendant TRY-US TRANSPORTATION, INC. to bring its
                        motor vehicle to a safe stop without colliding into Plaintiffs motor
                        vehicle;

                 D.     In that Defendant TRY-US TRANSPORTATION, INC. failed to keep
                        such distance away from Plaintiffs motor vehicle as a person using
                        ordinary prudent care would have done;

                 E.     In that Defendant TRY-US TRANSPORTATION, INC. was operating its
                        motor vehicle at a rate of speed which was greater than that would have
                        been operated by a person of ordinary prudence under the same or similar
                        circumstances;

   Original Petition- Ford v; Kvam & TRY-US TRANS., INC.
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Case 6:17-cv-00127-KNM            Document 3         Filed 02/28/17        Page 8 of 13 PageID #: 75




                 F.      In that Defendant TRY-US TRANSPORTATION, INC. failed to apply its
                         brakes to its motor vehicle in a timely and prudent manner and/or wholly
                         failed to apply its brakes;

                  G,     In that Defendant TRY-US TRANSPORTATION, INC. failed to stop at
                         an Official-Traffic Control Devic.e, to wit: a stop light, in violation of
                         Section 544.007 of the Texas Transportation Code;

                  H.     In that Defendant TRY-US TRANSPORTATION, INC. failed to stop,
                         yield, and grant immediate use of the intersection to Plaintiffs motor
                         vehicle after it had entered the intersection to conform to the Official
                         Traffic-Co11trol Device- i.e. a stop light erected by public authority;

                  I.     In that Defendant TRY-US TRANSPORTATION, INC. failed to enter
                         into the intersection only when it could have safely entered without
                         interference or collision with other trafiic, and specifically, with Plaintitl,s
                         motor vehicle; and

                  J.      In that the driver of Defendant's vehicles looked away from the road and
                          vehicles ahead ofhim, allowing himself to be a distracted driver.

                 K.      In that Defendant failed to observe Federal Motor Can-ier Safety
                         Administration rules, regulations and guides which are intended to ensure
                         the safety ofpe.rsons such as Plaintiff.

                           PLAINTIFF'S CLAIM OF
           NEGLIGENCE PER SE AGAINST TRY-US TRANS~ORTATION, INC.
          31.     Defendant TRY-US TRANSPORTATION, INC.'s conduct described herein

  constitutes an unexcused breach of duty imposed by Section 544.007 of the Texas Transportation

  Code.

          32.     The statute imposes the duty on operators of motor vehicles facing a steady red

  traffic signal to stop and not attempt to enter the intersection until an indication to proceed is

  displayed. The ddver ofDefendant:s vehicles, Steven Kvam, violated this duty when he failed to

  stop for a red light; causing his vehicle to crash into the rear of Plaintiffs vehicle.

          33.     Plaintiff is member of the class that Section 544.007 of the Texas Transportation

  Code was designed to protect.

  Original Petition- Ford v. Kvam & TRY-US TRANS., INC .
                          Pag e 8112
Case 6:17-cv-00127-KNM           Document 3         Filed 02/28/17       Page 9 of 13 PageID #: 76




          34.     Defendant TRY-US TRANSPORTATION, INC.'s unexcused breach of the duty

  imposed by Section 544.007 of the Texas Transportation Code pt'oximately caused the Plaintiffs

  injuries described herein.

                          PLAINTIFF'S CLAIM OF
         RESPONDEAT SUPERIOR AGAINST TRY-US TRANSPORTATION, INC.

          35.     At the time of the occurrence of the act in question and immediately prior thereto,

  Steven Kvam was within the course and scope of employment for Defendant TRY-US

  TRANSPORTATION, INC ..

          36.     At the time of the occul'rence of the act in question and immediately prior thereto,

  Steven Kvam. was engaged in the furtherance of Defendant TRY-US TRANSPORTATION,

  INC.'s business ..

          37.     At the time of the occurrence of the act in question and immediately prior thereto,

  Steven K vam was engaged in accomplishing a task for which Steven Kvam was employed.

          38.     Plaintiff invokes the doctrine of Respondeat Superior as against Defendant TRY-

  US 'TRANSPORTATION, INC ..

                         PLAINTIFF'S CLAIM OF
       NEGLIGENT ENTRUSTMENT AGAINST TRY-US TRANSPORTATION,.INC.

          39.     On November 26,2014, Defendant TRY-US TRANSPORTATION, INC. was the

  owner ofthe vehicle operated by Steven Kvam.

          40.     Defendant TRY-US TRANSPORTATION, INC. entrusted the vehicle to Steven

  K vam, a reckless and incompetent driver.

          41.     Defendant TRY-US TRANSPORTATION, INC. knew, ot tln"ough the exercise. of

  reasonable care should have known, that Steven Kvam was a reckless and incompetent driver.



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Case 6:17-cv-00127-KNM             Document 3             Filed 02/28/17   Page 10 of 13 PageID #: 77




           42..    As described herein, Steven Kvam was negligent on the occasion in question.

           43.     Steven Kvatn's negligence was the ptoximate cause ofPlaintiffs damages.

                                        EXEMPLARY DAMAGES

           44.     Defendant Steven Kvam's acts or omissions described above,. when viewed from

   the standpoint of Defendant Steven K vam at the time of the act or omission, involved an extreme

   degree of risk, considering the probability and magnitude of the potential harm to Plaintiff and

   others. Defendant Steven Kvam had actual, subjective awareness ofthe risk involved in the

   above described acts or omissions, but nevertheless proceeded with conscious indifTerence to the

   rights; safety, or welfare of Plaintiff and. others.

           45.     Based on the facts stated herein, Plaintiffrequests exemplary damages be awarded

   to Plaintiff from Defendant Steven K vam.

           46.     Defendant TRY-US TRANSPORTATION, INC.'s acts or omissions described

   above, when viewed from the standpoint of Defendant TRY-US TRANSPORTATION, INC . .at

   the time of the act or omission, involved an extreme degree of risk, considering the probability

   and magnitude of the potential hann to Plaintiff and others.                 Defendant TRY-US

   TRANSPORTATION, INC. had actual, subjective awareness of the risk involved in the above

   described acts or omissions, but nevertheless proceeded with conscious indifference to the rights,

   safety, or welfare ofPlaintitT and others.

           47.     Based on the facts stated herein, Plaintiff requests exemplary damages be awarded

   to Plaintiff from Defendant TRY-US TRANSPORTATION, INC ..




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                         DAMAGES FOR PLAINTIFF, CORINNE FORD
          48.     As. a direct and. proximate result of the occurrence made the basis of this lawsuit,
   Plaintiff, Corim1e Ford was caused to suffer serious injuries, and to incur the following damages:
                  A.      Reasonable medical care and expenses in the past. These expenses were
                          incurred by Plaintiff: Corim1e Ford for the necessary care and treatment of
                          the injuries resulting from the accident complained of herein and such
                          charges are reasonable and were usual and customary charges for su.c h
                          services in Smith County, Texas;

                  B.     Reasonable and necessary medical care and expenses which will in all
                         reasonable probability be incurred in the future;

                  C.     Physical pain and suffering in the past;

                  D.     Physical pain and suffering in the future;

                  E.      Physical impairmertt in the past;

                  F.     Physical impairment which, in all reasonable probability, will be suffered
                         in the future;

                  G.      Loss of ear:r.1i11gs in the past;

                  H.     Loss of eaming capacity which will, in all probability, be incurred in the
                         future;

                  I.      Loss of Household Services in the past;

                  J.      Loss of Household Services in the future;

                  K.     Disfigurement in the past;

                  L.      Disfigurement in the future;

                  M.      Property damages;

                  N.      Mental anguish in the past;

                  0.     Mental anguish in the future;

                  P.      Fear of future diseaSe or condition; and

                  Q.      Cost of medical monitoring and prevention in the future.


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                                                        PRAYER

            WHEREFORE, PREMISES CONSIDERED, Plaintiff, Corinne Ford, respectfully

   prays that the Defendants be cited to appear and answer herein, and that upon a final hearing of

   the cause judgment be entered for the Plaintiff against Defendants, jointly and severally, for

   damages in an amount within the jmisdictiomil limits of the Court; exemplary damages, as

   addressed to each Defendant per Section 41.006, Chapter 41, Texas Civil Practice and Remedies

   Code, excluding intel'est, and as· allowed by Sec. 41.008, Chapter 41 , Texas Civil Practice and

   Remedies Code, together with pre-judgment interest (from the date of injury through the date of

   judgment) at the maximum rate allowed by law; post-judgment interest at the legal rate, costs. of

   court; and such other and further relief to which the Plaintiff may be entitled at law or in equity.



                                                         Respectfully submitted,

                                                         Lee, Gober & Reyna


                                                         By:   _,flU~_/,__;_,4!L___...~-=:;:;..__ _ _
                                                               Kenneth "Trai' Gober, III
                                                               Texas Bar No. 24061986
                                                               Email: KOober@LORLawFirm.com
                                                               11940 Jollyville Road, Suite 220S
                                                               Austin, TX 78759
                                                               Tel. (512) 800.8000
                                                               Fax. (512) 478.8081
                                                               Attorney fotPlaintiff
                                                               Corinne Ford



                             PLAINTIFF HEREBY DEMANDS TRIAL BY JURY




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                                                 I, Lois Roge.-s, District Clerk of Smith Count) Tc.'·"
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